        CASE 0:20-cr-00282-PJS-ECW Doc. 65 Filed 01/21/21 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 20-282 (PJSIECW)

UNITED STATES OF AI\4ERICA,

                     Plaintiff,                            SUPERSEDING INDICTMENT

       v.                                                  18 U.S.C. $ 2
                                                           L8 u.s.c. s 371
(1) SHADOR TOMMIE CORTEZ JACKSON,                          18 U.S.C. S 844(i)
(2) VICTOR DEVON EDWARDS, and
(3) LEROY LEMONTE PERRY WILLIAMS,

                     Defendants.


      THE UNITED STATES GRAND JURY CIIARGES TTIAT:

                                          COUNT     1
                            (Conspiracy To Commit Arson)

      1.      On or about August 26,2020, in the State and District of Minnesota, the

defendants,

                    SHADOR TOMMIE CORTEZ JACKSON,
                      VICTOR DEVON EDWARDS, and
                    LEROY LEMONTE PERRY WILLIAMS,

knowingly and intentionally conspired with each other and others known and

unknown to the Grand Jury to damage and destroy, and attempt to damage and

destroy, by means of fire, the Target Corporation's corporate headquarters building,

located at 1000 Nicollet Mall in Minneapolis, Minnesota, which is a building used in

interstate and foreign commerce, and in activities affecting interstate and foreign

commerce, all in violation of   Title   18, United States Code, Sections 371 and 844(i).



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         CASE 0:20-cr-00282-PJS-ECW Doc. 65 Filed 01/21/21 Page 2 of 4

United States v. Shador Tommie Cortez Jackson et al.



                          PURPOSE OF THE CONSPIRACY

       2.     The purpose of the conspiracy was to commit an act of arson at the

Target Corporatiort's corporate headquarters building located           in the City of
Minneapolis, in the District of Minnesota.

                                 IT,IANNER AND MEANS

       3.     It was part of the conspiracy that on August 26,2020, Jackson, Edwards,

and Williams joined each other near the Target Corporation's corporate headquarters

building in the City of Minneapolis, in the District of Minnesota and thereafber set,

attempted to set, and agreed to set, fires in that building in the District of Minnesota.

                                       OVERT ACTS

       4.     In furtherance of the conspiracy and to achieve its object,      Jackson,

Edwards, and Williams, committed certain overt acts, includingbut not limited to the

following:

              a.      On August26,2020, Jackson, Edwards, and Williams went to the

Target Corporation's corporate headquarters building where dozens of others had

gathered. Jackson used a construction sign to break through one ofthe glass doors

into the Target Corporation's corporate headquarters building. Jackson, Edwards,

and Williams, along with unidentified others, breached the doors and entered the

Target Corporation's corporate headquarters building and the immediate curtilage.

              b.      Jackson intentionally set a fire on a counter inside the mailroom

while Edwards stood nearby. Edwards later added a liquid accelerant to the fire

located on the mailroom countdr with the intent to fuel the existing fire.


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         CASE 0:20-cr-00282-PJS-ECW Doc. 65 Filed 01/21/21 Page 3 of 4

United States v. Shador Tommie Cortez Jackson et al.



              c.      Jackson attempted to light a second fire in the mailroom on top of

cardboard boxes using a lighter and a bottle of ignitable liquid.

              d.      Jackson, Edwards, Williams, and unidentified others then ran

out of the building together, using the same door.

              e.      Williams reentered the building entrance shortly thereafter.

Williams then set fire to a carboard box and placed the          lit   cardboard and other

combustibles in the vestibule entrance area of the building with the intent to start a

fire. Williams made additional attempts to reignite the cardboard and combustibles

on fire. Williams then left the building.

       All in violation of fitle   18, United States Code, Section 371.

                                          COUNT 2
                                            (Arson)

       On or about August 26, 2020, in the State and                      of Minnesota, the

defendant,

                             VICTOR DEVON EDWARDS,

aiding and abetting others and aided and abetted by others known and unknown to

the Grand Jury, maliciously damaged and destroyed and attempted to damage and

destroy, by means of fire, the Target Corporation's corporate headquarters building,

located at 1000 Nicollet Mall in Minneapolis, Minnesota, which is a building used in




                                                3
         CASE 0:20-cr-00282-PJS-ECW Doc. 65 Filed 01/21/21 Page 4 of 4

United Statee v. Shador Tommie Cortez Jackson et al.



interstate and foreign commerce, and in activities affecting interstate and foreign

commerce, all in violation of Title 18, United States Code, Sections 2 and 844(i).

                                        A TRUE BILL




UNITED STATES ATTORNEY                                 FOREPERSON




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